Case 2:15-cv-00998-JRG-RSP Document 44 Filed 11/04/15 Page 1 of 3 PageID #: 182




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

        Plaintiff,                                         Civil Action No. 2:15-cv-998-JRG-RSP
                                                                         (Lead Case)
 vs.
                                                                JURY TRIAL DEMANDED
 NVIDIA CORPORATION, et al.,

        Defendants.


                              NOTICE OF COMPLIANCE REGARDING
                             INITIAL AND ADDITIONAL DISCLOSURES

        Defendant Samsung Electronics America, Inc. hereby provides notice that on November

 4, 2015 it served its Initial and Additional Disclosures via electronic mail to Plaintiffs’ counsel.




                                                   1
Case 2:15-cv-00998-JRG-RSP Document 44 Filed 11/04/15 Page 2 of 3 PageID #: 183




 Dated: November 4, 2015                   Respectfully submitted,


                                           /s/Matthew M. Wolf
                                           Matthew M. Wolf
                                           (District of Columbia Bar No. 454323)
                                           matthew.wolf@aporter.com
                                           Ali R. Sharifahmadian
                                           (District of Columbia Bar No. 480876)
                                           ali.sharifahmadian@aporter.com
                                           Jin-Suk Park
                                           (District of Columbia Bar No. 484378)
                                           jin.park@aporter.com
                                           Patrick C. Reidy
                                           (District of Columbia Bar No. 1026898)
                                           patrick.reidy@aporter.com
                                           Arnold & Porter LLP
                                           601 Massachusetts Avenue, NW
                                           Washington, DC 20001
                                           Telephone: (202) 942-5000
                                           Facsimile: (202) 942-5555

                                           Maxwell Preston
                                           (New York State Bar No. 4806162)
                                           maxwell.preston@aporter.com
                                           Arnold & Porter LLP
                                           399 Park Avenue
                                           New York, NY 10022-4690
                                           Telephone: (212) 715-1000
                                           Facsimile: (212) 715-1399

                                           Melissa Richards Smith
                                           Gillam & Smith, LLP
                                           303 S. Washington Ave.
                                           Marshall, TX 75670
                                           Telephone: (903)-934-8450
                                           Fax: (903)-934-9257
                                           Email: melissa@gillamsmithlaw.com

                                           ATTORNEYS FOR SAMSUNG
                                           ELECTRONICS AMERICA, INC.




                                       2
Case 2:15-cv-00998-JRG-RSP Document 44 Filed 11/04/15 Page 3 of 3 PageID #: 184




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 4, 2015 a true and correct copy of the

 above and foregoing document has been served on all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3)(A).


                                         /s/ Melissa Smith
                                             Melissa R. Smith




                                               3
